                                   Motion (190) is GRANTED and Joy Boyd Longnecker is substituted as
                                   counsel of record for Defendant

                      IN THE UNITED STATES DISTRICT COURT
                                                                               US DISTRICT JUDGE
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
               Plaintiff,                     )
                                              )     No. 3:21-CR-264
        v.                                    )
                                              )
 BRIAN KELSEY                                 )
                                              )
               Defendants.                    )


             UNOPPOSED MOTION FOR SUBSTITUTION OF COUNSEL


       Defendant Brian Kelsey hereby moves this Court pursuant to Local Rule 57.01 to substitute

Joy Boyd Longnecker as his counsel of record in the above-captioned proceedings. Defendant also

requests that all future pleadings and correspondence be sent to Ms. Longnecker at her address

below. Defendant’s prior counsel, J. Alex Little and Zachary Lawson, do not oppose this motion.

Undersigned counsel has also conferred with counsel for the United States, John Taddei, and the

government does not oppose this motion, either.

                                                   Respectfully submitted,

                                                   BARNES & THORNBURG LLP

                                                   /s/ Joy Boyd Longnecker
                                                   Joy Boyd Longnecker (TN BPR #029627)
                                                   1600 West End Avenue, Suite 800
                                                   Nashville, TN 37203-3494
                                                   Tel. (615) 621-6012
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                                                   Email: joy.longnecker@btlaw.com

                                                   Counsel for Defendant




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